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AO 91 (Rev. 08/09) Criminal Complaint


                                     United States District Court
                                                                  for the

                                                        Southern District of Ohio


                  United States of America
                               V.
                     Gregory R. Lee
                  2659 Sparrow Hill Drive
                                                                            Case No.     «7,77- /n:J-33l
                   Columbus, OH 43219


                           Defendanl(s)


                                                        CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    3/6/17to 5/29/17              in the county of                Franklin       in the
     Southern          District of               Ohio            , the defendant(s) violated:

            Code Section                                                      Offense Description
18U.S.C.2251                                     Use of a minor engaged in sexuaily expiicitconduct for the purpose of
                                                 producing a visuai depiction of such conduct, using materiais that had been
                                                 shipped or transported in interstate or foreign commerce


18U.S.C. 2252(a)(2)                              Receipt of visuai depictions of a minor engaged in sexuaiiy expiicit conduct
                                                 via a means or facility of interstate or foreign commerce



         This criminal complaint is based on these facts:
See attached affidavit incorporated herein by reference




         Sf Continued on the attached sheet.



                                                                                                Complainant s signature

                                                                                          Brett M. Peachev. TFO FBI
                                                                                                 Printed name and title


Swom to before me and signed in my presence.


Date:          June 19. 2017
                                                                                                  Uudge's signature

City and state:                           Coiumbus, Ohio                                  Elizabeth Preston-Deavers
                                                                                                Printed name and title
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



In the Matter of the Criminal Complaint:

United States of America
           V.

Gregory R. Lee
2659 Sparrow Hiil Drive
Columbus, OH 43219

                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Brett M. Peachey, a Task Force Officer with the Federal Bureau of Investigation
("FBI"), Columbus Resident Agency, being first duly sworn, hereby depose and state as follows;

    1. I, TFO Brett Peachey (your affiant), make this affidavit in support of a criminal complaint
to arrest for a violation of 18 U.S.C. § 2251(a) - Production of Child Pornographyand 18 U.S.C.
§ 2252(a)(2)- Receipt of Child Pornography. Since this affidavit is being submitted for the
limited purpose of securing a criminal complaint and arrest warrant, your affiant did not include
each and every fact known concerning this investigation. Your affiant did not withhold any
information or evidence that would negateprobable cause. Your affiant set forthonly the facts
that are believedto be necessaryto establishprobablecause that GregoryR. LEEcommitted the
violations listed above.

    2. Your affiant has been employed as a police officer for the Westerville PoliceDepartment
since December of 1995. Since March of 2008, youraffiant has been assigned to the Cyber
Crimes and Violent Crimes Task Force with the Federal Bureau of Investigation, Cincinnati
Division, Columbus Resident Agency, conducting online child enticement and child pornography
investigations. Your affiant is alsoa member of the Franklin County Internet Crimes Against
Children Task Force in Columbus, Ohio investigating similarcrimes. Youraffianthas gained
experience through a Bachelorof Arts Degree in Criminology, and has received specialized
training in the area of internetcrimes involving child exploitation, child pornography
investigations and computer forensics. Your affiant has been involved in hundreds of
investigations involving internet crimes against children, resulting in dozens of felony arrests and
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convictions. As a Task Force Officer with the FBI, your affiant is authorized to investigate
violations of the laws of the United States under the authority of the United States.

    3.     On June 1,2017, your affiant was advised that the Dublin (OU) Police Department was
currently investigating Gregory R. LEE, residing at 2659 Sparrow Hill Drive, Columbus, OH for
engaging in sexual activity with a then-fifleen-year-oldfemale and the production and receipt of
child pornography involving the same child. Until recently, LEE was a teacher at Dublin Scioto
high school and the victim in this case, hereinafter referred to as Jane Doe, was a student of
LEE'S.


    4. Your affiant obtained reports, narrative supplements, notes and search warrants executed
by the Dublin Police Department during the course of their investigation. According to this
information, on May 28,2017, Jane Doe's mother found and read a personal journal belonging to
Jane Doe which contained explicit descriptions of at least one act of oral sex between Jane Doe
and an individual identified as "Greg Lee."

    5. On June 1,2017, Jane Doe was interviewed at the Child Advocacy Center in Columbus,
OH. At that time, Jane Doe advised that she has taken and distributed nude photos of herself to
Greg LEE through both text messages on her phone and through software applications accessed
throughher phone. Jane Doe also advised that LEE has sent her partially nude photographs of
himselfwhichshowedhis exposed genitalia. Duringthis interview, Jane Doe denied that any
sexual contact had occurred between her and LEE.


   6. In a follow-up interview with Dublin police detectives on June 2,2017, Jane Doe admitted
that she had in fact engaged in sexual contact with Lee, starting in November of 2016, when she
was fifteen years ofage. Jane Doe also confirmed that she sent nude photographs or herself,
including photos of her masturbating, to LEE at LEE's request.

   7. On May 31,2017, a search warrant was obtained by Dublin police detectives for Jane
Doe's cell phone and two computers at her residence. During a preliminary forensic examination
of Jane Doe's cell phone, a photo of a male's erect penis was recovered. The photo appears to
have been sent to Jane Doe through the Viber application. Viber is described as a free, cross-
platform instant messaging and voice over IP application which also allows users to exchange
images, video and audio media messages by sending files to each other. The date stamp on this
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photo was May 30,2017, which correlates to a text conversation found on the phone with a
subjectutilizing the user name "Bear" through the Viberapplication. During the interview of
Jane Doe at the Child Advocacy Center, Jane Doe advised that LEE's phone number was saved in
her cell phone under the name "Bear."

    8. On June 2,2017, Dublin Police Department executed a search warrant at LEE's residence:
2659 Sparrow Hill, Columbus, OH 43219. At that time various pieces ofdigital media were
seized and transported to the Dublin Police Department. LEE was present at the time and agreed
to speak to detectives about the ongoing investigation. LEE admitted that Jane Doe had texted
nude photos of herself to him which he then sent to his Gmail account. After being sent to this
account, LEE would save the photos to a USB drive which was currently located in his vehicle.
LEE further added that every photo of Jane Doe that she ever sent to him or that he ever took of
her would be on this USB drive. LEE also admitted that he had sent nude photos of himself to
Jane Doe but believes that he later deleted them from his devices after sending them to her. LEE
further acknowledged that he took photographs of Jane Doe with his phone in his classroom and
that thesephotos wouldbe savedto the USB drive. Both LEE and Jane Doe admitted that they
engaged in oral sex in LEE's classroom at the school multiple times.

    9. On June 13,2017, a federal search warrant was obtained for the items that had been seized
at LEE's residence by the Dublin Police Department, which included a Sandisk 16GB USB drive
that was located in LEE's vehicle and a Samsung Galaxy smartphone. Forensic examination of
the Sandisk USB drive revealed a folder labeled "PPP" which contained 42 sub-folders labeled
with various dates and otheridentifying information. Approximately 234 images of Jane Doe
wererecovered from these folders including approximately 49 images whichdepicted Jane Doe in
various stages of nudity, including the lascivious display of thegenitals. Several of these images,
as well as twovideos, depict Jane Doe masturbating. LEE had given some of the images specific
titles such as "clean pussy,""deskchairpussy," "pussy1," "legs and ass," and
"playingwithherself." Two ofthese folders, which were labeled "8Januaryl8_2017(G2)" and
"19March6_2017(G2), contained several photos of Jane Doe that she could not have taken by
herself, as both of her hands were visible in the photos. The photos in the folder entitled
"8Januaryl8_2017(G2)" all had file creation dates of January 19,2017. The photos in the folder
entitled "19March6_2017(G2)" all had file creation dates of March 12,2017.
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    10. Forensic examination of LEE's Samsung Galaxy S4 smart phone revealed a large number
of the same photos of Jane Doe that had been found on LEE's SanDisk 16GB USB drive
referenced above. One of the photos, which had been entitled '*NaughtyinG2" on the USB drive,
depicted Jane Doe's pubic area while wearing underwear. Jane Doe's face and body were visible
such that your affiant was able to identify her, however the photograph focused on her pubic area
and her underwear were pulled to one side, exposing the right side of her vagina and labia. This
image was located within the "19Marchl6_2017(G2)" folder on the USB drive and had a file
creation date of March 6, 2017, on the phone.

    11. Another photo found on the phone, which had been entitled "Crotch&Panty" on the USB
drive, depicted a close up image of a female's pubic area with her legs spread. Although the
female is wearing a pair of panties, they are pulled to one side exposing the right side of her
vagina and labia. This photograph appears very similar to the "NaughtyinG2" image described
above, except that it is zoomed in so that just the pubic area and nude vagina and labia are visible.
It was also found in the "19Marchl6_2017(G2)" folder on LEE's USB drive and had a file
creation date of March 6, 2017 on LEE's Samsung phone.

    12. In addition to the two photos described above and various other photos of Jane Doe that
appeared to have been transferred from LEE's phone to his USB drive, numerous additional nude
photos that are believed to be of Jane Doe were found on the phone, but were not located on the
USB drive. Approximatelyten of these images depicted Jane Doe nude lying on her back in a
bed. Several ofthe photosare close up images of what is believed to be Jane Doe's vagina and
anus with her legs spread or in the air. The file creationdates for these photos is May 29,2017.

    13. On Jime 15,2017, your affiant interviewed Jane Doe at her residence. Jane Doe was
shown the two photos described in paragraphs 10and 11 above and six additional photos that had
been found in the folder labeled "19March 6_2017(G2) on LEE's USB drive. When Jane Doe
was asked if G2 had any significance she replied that it is LEE'S classroom number at the high
school. Jane Doe positively identified herself in all eight photos and advised that they had been
taken by LEE using his cell phone in his classroom.

   14. The other six photos in these folders depicted Jane Doe in a similar pose as the two
photos described above, but are of her buttocks from behind or from an angle under her skirt.
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Jane Doe's vagina is not explicitlyvisible in any of these photos. When asked if the dates that the
folders were labeled were the same dates that the photos were taken, Jane Doe advised that they
likely were.

     15. Jane Doe advised that LEE would request that she send nude photos to him and that she
would feel "guilttripped" ifshe didn't. The majority of the times thatJane Doe sentnude photos
it wasat LEE'S request and, at times, LEE would ask her to get in different positions forthe
photos. LEEalso requested that she takephotos and videos of herselfmasturbating or touching
herself and she complied.

   16. The Samsung cell phone that LEE used to take the photos of Jane Doe is labeled with an
imprint stating that is was"madein China," and thus has traveled in interstate and foreign
commerce.


   17. Based upon the above information, your affiant submits that there is probable cause to
believe that GregoryR. LEE has committed the offenseof Production of Child Pomography, in
violation of 18 U.S.C. 2251(a) and Receipt of Child Pomography, in violation of 18 U.S.C.
2252(a)(2). Therefore, your affiant respectfully r^quest^this C^ourt issue acriminal complaint and
arrest warrant.



                                            Brett M. Peachey
                                            Task Force Officer
                                            Federal Bureau of Investigation



Sworn to and subscribed before me this 19th day of June, 2017.




Elizab^ Presto^-Deaver^
United States MagistratCJudge
United States District Court
Southern District of Ohio
